
Pennington, J.
Two reasons are assigned for the reversal of the judgment below; one that the justice admitted illegal evidence; the other, that he rejected legal evidence. It appears by the record sent up, that no witness was sworn *287on the part of the defendant below, the plaintiff in certiorari ; nor does it appear that he offered any witness. It does appear that the testimony of one witness on the part of the plaintiff was rejected, but the reason of rejection is not stated; how the defendant can complain with propriety of the rejection of the plaintiff’s testimony, cannot easily be perceived. It does not appear by the record, that any of the plaintiff’s witnesses were objected to; nor is there any fact stated by the justice whereby the court can perceive that the testimony was illegal. One witness was examined on his noire dire, and afterwards sworn in chief. I cannot perceive any ground for either [*] objection; and am, therefore of opinion, that the judgment ought to be affirmed.
By the Court. — Let judgment be
Affirmed.
